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 4

 5 Attorneys for Defendant, PATRICIA ANN KING

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 7

 8                                     UNITED STATES DISTRICT COURT

 9                                    EASTERN DISTRICT OF CALIFORNIA

10

11 UNITED STATES OF AMERICA,                                CASE No. 1:10-CR-00249 AWI

12                       Plaintiff,                         STIPULATION AND ORDER FOR
                                                            DISCLOSURE OF PRESENTENCE
13             v.                                           INVESTIGATION REPORT IN
                                                            RELATED MATTER
14 PATRICIA ANN KING,                                       (F.R.Crim.P, Rule 32; Local Rule 460(b))
15                       Defendant.

16

17                       WHEREAS, Defendant, Patricia Ann King, pleaded guilty in this matter and in the
18 related matter, U.S. vs. Patricia Ann King, U.S. District Court for the Eastern District of
19 California, Docket number 1:10-CR-00151-001 AWI, on February 13, 2012; and

20                       WHEREAS, the parties in this matter and the related matter, as well as the United
21 States Probation Office, are in the process of commenting on or preparing an Advisory Guidelines

22 Presentence Investigation Report and Sentencing Memoranda; and

23                       WHEREAS in the draft Advisory Guideline Presentence Investigation Report made
24 available to counsel on March 19, 2012, there are numerous references to the Presentence

25 Investigation Report prepared in the case brought against Ms. King in 2003, U.S. vs. Patricia Ann

26 King, U.S. District Court for the Eastern District of California, Docket No. 1:03-CR-05275-001
27 AWI, and the Probation Officer assigned to prepare the report in this matter has indicated that the

28 Court will review the report from the earlier matter before sentencing Ms. King in this matter; and
     1091110v2 / 10924.0035
          STIPULATION AND ORDER FOR DISCLOSURE OF PRESENTENCE INVESTIGATION REPORT IN
                                        RELATED MATTER
     Case 1:10-cr-00249-JLT-BAM Document 119 Filed 03/29/12 Page 2 of 3


 1                       WHEREAS, counsel in this matter and counsel in the related matter, Docket No.

 2 1:10-CR-00151-001 AWI, need to review the Presentence Investigation Report from Case No.

 3 1:03-CR-05275-01 AWI in order to be prepared at the time of sentencing in this and the related

 4 matter which is currently set for April 23, 2012;

 5                       The parties hereto, by and through authorized counsel, stipulate and agree that the

 6 U.S. Probation Office for the U.S. District Court for the Eastern District of California, through the

 7 Probation Officer assigned to this matter, shall provide counsel in this matter and counsel in case

 8 number 1:10-CR-00151-001 AWI, a copy of the Presentence Investigation Report prepared by the

 9 U.S. Probation Office in case number 1:03-CR-05275-01 AWI. The parties further stipulate and

10 agree that the defendant, Patricia Ann King, her counsel and the U.S. Attorney's Office will

11 maintain the confidentiality of the Presentence Investigation Report from case number 1:03-CR-

12 05275-01 AWI as required by Local Rule 460 unless and until otherwise ordered by the Court.

13

14 DATED: March 29, 2012                                       Benjain B. Wagner
                                                               UNITED STATES ATTORNEY
15

16
                                                               By: /s/ Kirk E. Sherriff (authorized 3/29/12)
17                                                             Kirk E. Sherriff
                                                               Assistant U. S. Attorney
18                                                             Attorneys for Plaintiff
19
     DATED: March 29, 2012                                     BAKER MANOCK & JENSEN, PC
20

21
                                                               By: /s/ Robert D. Wilkinson
22                                                             Robert D. Wilkinson
                                                               Attorneys for Defendant, PATRICIA ANN
23                                                             KING
24
                                                       ORDER
25
                         Good Cause appearing, IT IS HEREBY ORDERED that the U.S. Probation Office
26
     for the U.S. District Court for the Eastern District of California, through the Probation Officer
27
     assigned to this matter, shall provide counsel in this matter and counsel in case number 1:10-CR-
28
     1091110v2 / 10924.0035                                2
          STIPULATION AND ORDER FOR DISCLOSURE OF PRESENTENCE INVESTIGATION REPORT IN
                                        RELATED MATTER
          Case 1:10-cr-00249-JLT-BAM Document 119 Filed 03/29/12 Page 3 of 3


 1 00151-001 AWI, a copy of the Presentence Investigation Report prepared by the U.S. Probation

 2 Office in case number 1:03-cr-05275-01 AWI. IT IS FURTHER ORDERED that the defendant,

 3 Patricia Ann King, her counsel and the U.S. Attorney's Office will maintain the confidentiality of

 4 the Presentence Investigation Report from case number 1:03-CR-05275-01 AWI as required by

 5 Local Rule 460 unless and until otherwise ordered by the Court.

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 7

 8 IT IS SO ORDERED.

 9 Dated: March 29, 2012
                                                      CHIEF UNITED STATES DISTRICT JUDGE
10   DEAC_Signature-END:




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     1091110v2 / 10924.0035                                     3
                           STIPULATION AND ORDER FOR DISCLOSURE OF PRESENTENCE INVESTIGATION REPORT IN
                                                         RELATED MATTER
